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NOT FOR PUBLICATION                                                                 (Doc. No. 7)

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                               CAMDEN VICINAGE
_____________________________________
                                      :
SARA FUENTES,                         :
                                      :
                  Plaintiff,          :  Civil No. 14-8118 (RBK/KMW)
                                      :
            v.                        :  ORDER
                                      :
DR. RANEE MEHRA, M.D., et al.,        :
                                      :
                  Defendants.         :
_____________________________________ :

KUGLER, United States District Judge:

       THIS MATTER having come before the Court upon the motion of Defendants to

dismiss Plaintiff’s Amended Complaint for lack of personal jurisdiction pursuant to Fed. R. Civ.

P. 12(b)(2) and for improper venue pursuant to Fed. R. Civ. P. 12(b)(3), or in the alternative, to

transfer venue to the Eastern District of Pennsylvania pursuant to 28 U.S.C. § 1406(a) or 28

U.S.C. § 1404(a) (Doc. No. 7); and the Court having considered the moving papers; and for the

reasons expressed in the Opinion issued this date;

       IT IS HEREBY ORDERED that the Clerk is directed to transfer this matter to the

United States District Court, Eastern District of Pennsylvania, pursuant to 28 U.S.C. § 1406(a).

       IT IS HEREBY FURTHER ORDERED that Defendants’ motion to dismiss pursuant

to Rules 12(b)(2) and 12(b)(3) is DISMISSED AS MOOT.



Dated: 6/15/2015                                             s/ Robert B. Kugler
                                                             ROBERT B. KUGLER
                                                             United States District Judge
